           Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 1 of 21




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


NATALIE JOHNSON,

                           Plaintiff,                                           ORDER
      v.
                                                                            19-cv-760-wmc
C.R. BARD INC. and
BARD PERIPHERAL VASCULAR INC.,

                           Defendants.




      Before the court is the parties’ request for ruling on objections to certain deposition

designations as to Gin Schulz.


 DEPON-          PL AFFIRM       DEF OBJECTIONS                PL RESPONSE TO             COURT
 ENT                                                           OBJECTIONS                 RULING

 Schulz, Gin                     Bard objects to the playing   Bard chose to market       OVERRULED
 01/30/2014                      of this deposition under      the Meridian filter
                                 Rules 401, 402 and            using the 510(k)
                                 403. Ms. Schulz was           process which relied
                                 formerly a quality            upon the Recovery
                                 assurance employee who        filter as the predicate.
                                 left Bard in 2011, before     All G2 filter platform
                                 the Meridian filter was       filters, including the
                                 available for commercial      Meridian trace their
                                 distribution. Her             design history to the
                                 testimony does not address    Recovery filter and the
                                 the Meridian filter.          defects in the Meridian
                                                               design only can be
                                                               understood only in the
                                                               context of the entire
                                                               filter-line development.
                                                               Testimony regarding
                                                               the Recovery filter’s
                                                               complications, testing,
                                                               warnings and design is
                                                               relevant and is not


                                                    1
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 2 of 21



                                                             outweighed by any
                                                             prejudicial effect. Judge
                                                             Campbell agreed with
                                                             this position in Jones v.
                                                             Bard. [MDL Order No.
                                                             10819]. The design
                                                             history and failure
                                                             modes are relevant to
                                                             the assessment of the
                                                             defects in the design of
                                                             the filter whether a
                                                             particular failure mode
                                                             has occurred and Bard's
                                                             past conduct is relevant
                                                             to the claims of
                                                             negligence. The
                                                             testimony is relevant
                                                             and not unfairly
                                                             prejudicial.

Schulz, Gin   13:17-13:18
01/30/2014

Schulz, Gin   101:23-
01/30/2014    102:12

Schulz, Gin   104:14-       Rules 401, 402, 403.             This testimony does         OVERRULED
01/30/2014    105:03        Testimony does not involve       not invovled any
                            filter at issue and/or failure   particular filter, bust
                            modes at issue; Irrelevant       instead devices in
                            and any probative value          general. Testimony
                            outweighed by prejudicial        discusses the needs of
                            effect.                          the device

Schulz, Gin   109:13-       Rules 401, 402, 403.             Testimony involves          OVERRULED
01/30/2014    110:01        Testimony does not involve       migration, which is at
                            filter at issue and/or failure   issue here and the
                            modes at issue; Irrelevant       testimony is not device
                            and any probative value          specific.
                            outweighed by prejudicial
                            effect.

Schulz, Gin   110:04-       Rules 401, 402, 403.             Testimony involves          OVERRULED
01/30/2014    111:19        Testimony does not involve       migration, which is at
                            filter at issue and/or failure   issue here and the
                            modes at issue; Irrelevant       testimony is not device
                            and any probative value          specific.



                                                2
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 3 of 21



                         outweighed by prejudicial
                         effect.

Schulz, Gin   120:22-
01/30/2014    121:10

Schulz, Gin   121:13-
01/30/2014    121:15

Schulz, Gin   125:05-    Late addition of 125:02-         The designation of        OVERRULED
01/30/2014    125:10     125:04 is confusing and          125:05-125:110 as
                         should not be included as it     indicated clarifies the
                         references an answer that is     testimony.
                         not designated.

Schulz, Gin   130:22-
01/30/2014    131:01

Schulz, Gin   131:04-
01/30/2014    131:07

Schulz, Gin   204:17-
01/30/2014    204:20

Schulz, Gin   206:03-
01/30/2014    206:07

Schulz, Gin   206:15-
01/30/2014    206:22

Schulz, Gin   207:24-
01/30/2014    208:19

Schulz, Gin   227:04-    Rules 401, 402, 403.             The witness had direct    OVERRULED
01/30/2014    227:13     Testimony does not involve       involvement with the
                         filter at issue and/or failure   issue being discussed
                         modes at issue; Irrelevant       and it was part of her
                         and any probative value          duties at Bard to be
                         outweighed by prejudicial        aware of the needs of
                         effect. Rules 401, 402, 403      physicians. Ms.
                         – Testimony relates to           Johnson's filter
                         irrelevant and prejudicial       fractured. The Recovery
                         evidence regarding Bard’s        is relevenat to the
                         conduct related to the           Meridian as ruled by
                         Recovery Filter. Irrelevant      the MDL Court.
                         and any probative value
                         outweighed by prejudicial
                         effect. Rules 601/602 &


                                             3
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 4 of 21



                         612. Witness does not have
                         personal knowledge of
                         document Witness was
                         shown a document, was not
                         familiar with it and
                         testified that he/she does
                         not have personal
                         knowledge about it or the
                         circumstances. See
                         testimony at 227:23 -
                         228:02.

Schulz, Gin   228:07-    Rules 401, 402, 403.             The witness had direct    OVERRULED
01/30/2014    228:19     Testimony does not involve       involvement with the
                         filter at issue and/or failure   issue being discussed
                         modes at issue; Irrelevant       and it was part of her
                         and any probative value          duties at Bard to be
                         outweighed by prejudicial        aware of the needs of
                         effect. Rules 401, 402, 403      physicians. Ms.
                         – Testimony relates to           Johnson's filter
                         irrelevant and prejudicial       fractured. The Recovery
                         evidence regarding Bard’s        is relevenat to the
                         conduct related to the           Meridian as ruled by
                         Recovery Filter. Irrelevant      the MDL Court.
                         and any probative value
                         outweighed by prejudicial
                         effect. Rules 601/602 &
                         612. Witness does not have
                         personal knowledge of
                         document Witness was
                         shown a document, was not
                         familiar with it and
                         testified that he/she does
                         not have personal
                         knowledge about it or the
                         circumstances. Rules
                         801/802. Testimony is
                         hearsay.

Schulz, Gin   417:09-
01/30/2014    417:11

Schulz, Gin   417:14-
01/30/2014    417:17

Schulz, Gin   417:19-
01/30/2014    418:03


                                             4
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 5 of 21




Schulz, Gin   418:06-
01/30/2014    418:07

Schulz, Gin   418:09-
01/30/2014    418:22

Schulz, Gin   419:01
01/30/2014

Schulz, Gin   419:03-
01/30/2014    419:08

Schulz, Gin   419:11-
01/30/2014    419:24

Schulz, Gin   420:02-
01/30/2014    420:06

Schulz, Gin   420:09-
01/30/2014    420:11

Schulz, Gin   422:18-
01/30/2014    422:21

Schulz, Gin   422:24-
01/30/2014    423:02

Schulz, Gin   431:14-
01/30/2014    431:17

Schulz, Gin   431:20-
01/30/2014    431:20

Schulz, Gin   431:22-
01/30/2014    432:05

Schulz, Gin   434:19-
01/30/2014    434:20

Schulz, Gin   435:04-
01/30/2014    436:05

Schulz, Gin   442:06-
01/30/2014    442:14

Schulz, Gin   446:14-
01/30/2014    447:06




                                        5
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 6 of 21




Schulz, Gin   447:09-       Rules 401, 402, 403.             Tilting and penetration      OVERRULED
01/30/2014    447:11        Testimony does not involve       are at issue in this case.
                            filter at issue and/or failure   The witness is allowed
                            modes at issue; Irrelevant       to explain her
                            and any probative value          understanding.
                            outweighed by prejudicial
                            effect.
                            Rules 601/602 & 612.
                            Lacks foundation, witness
                            does not have personal
                            knowledge of subject
                            matter, calls for speculation
                            by the witness.

Schulz, Gin   447:13-       Rules 401, 402, 403.              Ms. Johnson's filter        OVERRULED
01/30/2014    447:19        Testimony does not involve       fractured and
                            filter at issue and/or failure   embolized to her right
                            modes at issue; Irrelevant       ventricle. The witness is
                            and any probative value          allowed to explain her
                            outweighed by prejudicial        understanding.
                            effect.

Schulz, Gin   448:09-
01/30/2014    448:13

Schulz, Gin   448:16
01/30/2014

Schulz, Gin   448:18
01/30/2014

Schulz, Gin   448:21
01/30/2014

Schulz, Gin   448:23-
01/30/2014    449:18

Schulz, Gin   449:21-
01/30/2014    449:23



DEPON-        DEF           PL OBJECTIONS                    DEF RESPONSE                 COURT
ENT           COUNTER                                        TO OBJECTIONS                RULING

Schulz, Gin   24:11-24:17
01/30/2014



                                                6
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 7 of 21




Schulz, Gin   31:05-31:07
01/30/2014

Schulz, Gin   31:16-47:09
01/30/2014

Schulz, Gin   49:04-49:07
01/30/2014

Schulz, Gin   56:04-56:07
01/30/2014    at Do you

Schulz, Gin   56:14-57:04    FRE 611(b) - beyond the                OVERRULED
01/30/2014                   scope of the direct
                             examination.

Schulz, Gin   58:12-58:17    FRE 611(b) - beyond the                OVERRULED
01/30/2014                   scope of the direct
                             examination.

Schulz, Gin   59:01-59:12    FRE 611(b) - beyond the                OVERRULED
01/30/2014                   scope of the direct                    except ADD
                             examination; FRE 106 -                 58:20-58:24
                             optional completeness - the
                             witness's clarification and
                             answer at lines 58:20-24
                             ought to be included.

Schulz, Gin   59:23-60:03    FRE 611(b) - beyond the                OVERRULED
01/30/2014    at According   scope of the direct
                             examination.

Schulz, Gin   60:06-60:19    FRE 611(b) - beyond the                OVERRULED
01/30/2014                   scope of the direct
                             examination.

Schulz, Gin   77:22-78:01
01/30/2014

Schulz, Gin   90:20-91:09    ?
01/30/2014

Schulz, Gin   101:23-
01/30/2014    103:03

Schulz, Gin   103:06-
01/30/2014    104:12




                                               7
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 8 of 21




Schulz, Gin   117:12-
01/30/2014    119:09

Schulz, Gin   123:13-
01/30/2014    123:20

Schulz, Gin   131:11-    (133:21-133:1) FRE              Plaintiff's counsel asked   SUSTAIN,
01/30/2014    133:01     401/402 (relevance);            the question. The           strike 132:21-
                         further, the designated lines   testimony is relevant to    133:1
                         are a statement by counsel,     show how Bard
                         not a question, and do not      evaluates its filters.
                         constitute evidence.

Schulz, Gin   135:01-
01/30/2014    135:04

Schulz, Gin   135:07-
01/30/2014    136:02

Schulz, Gin   145:11-
01/30/2014    145:20

Schulz, Gin   145:23-    (147:20-149:21) -               That testimony is not       MOOT
01/30/2014    147:19     Nonresponsive - objection       designated
                         & motion to strike at
                         149:22-23.

Schulz, Gin   151:02-     (1) FRE 402, 403 -             There is no testimony       RESERVE
01/30/2014    151:07     objection to evidence of        on FDA enforcement
                         FDA lack of enforcement         designated. Objection
                         for the reasons set forth in    makes no sense.
                         Plaintiff's Motion in Limine
                         on this topic. (2) FRE 402,
                         403: objection to evidence
                         of advocacy organization
                         guidelines, for reasons
                         stated in Plaintiff's
                         Omnibus Motion in
                         Limine; (3) FRE 602, 802:
                         speculative & hearsay:
                         witness lacks foundation to
                         testify about FDA's
                         intent/state of mind as to
                         the SIR guidelines or as an
                         expert on the legal
                         requirements established by
                         FDA; to extent witness is
                         reporting that FDA


                                            8
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 9 of 21



                         represented or
                         acknowledged in meetings
                         that SIR guidelines or Bard
                         failure rates were
                         acceptable, the testimony is
                         inadmissible hearsay. (4)
                         FRE 402, 403: further, any
                         probative value is
                         outweighed by the danger
                         of undue prejudice and
                         confusion of the issues
                         because (a) SIR has issued
                         multiple guidelines and the
                         testimony does not identify
                         which ones were allegedly
                         ""acknowledged"" or
                         accepted by FDA. and (b)
                         testimony implies that FDA
                         found the failure rates for
                         the Meridian filter ""to be
                         acceptable,"" suggesting
                         (improperly and without
                         foundation) that FDA
                         evaluated Ecplise filter for
                         compliance with a Federal
                         regulatory standard."

Schulz, Gin   154:20-    (1) FRE 402, 403 -                         SUSTAIN
01/30/2014    154:24     objection to evidence of
                         FDA lack of enforcement
                         for the reasons set forth in
                         Plaintiff's Motion in Limine
                         on this topic. (2) FRE 402,
                         403: objection to evidence
                         of advocacy organization
                         guidelines, for reasons
                         stated in Plaintiff's
                         Omnibus Motion in
                         Limine; (3) FRE 602, 802:
                         speculative & hearsay:
                         witness lacks foundation to
                         testify about FDA's
                         intent/state of mind as to
                         the SIR guidelines or as an
                         expert on the legal
                         requirements established by
                         FDA; to extent witness is

                                            9
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 10 of 21



                          reporting that FDA
                          represented or
                          acknowledged in meetings
                          that SIR guidelines or Bard
                          failure rates were
                          acceptable, the testimony is
                          inadmissible hearsay. (4)
                          FRE 402, 403: further, any
                          probative value is
                          outweighed by the danger
                          of undue prejudice and
                          confusion of the issues
                          because (a) SIR has issued
                          multiple guidelines and the
                          testimony does not identify
                          which ones were allegedly
                          ""acknowledged"" or
                          accepted by FDA. and (b)
                          testimony implies that FDA
                          found the failure rates for
                          the Meridian filter ""to be
                          acceptable,"" suggesting
                          (improperly and without
                          foundation) that FDA
                          evaluated Ecplise filter for
                          compliance with a Federal
                          regulatory standard."

Schulz, Gin   155:03-     (1) FRE 402, 403 -                         SUSTAIN
01/30/2014    157:13      objection to evidence of
                          FDA lack of enforcement
                          for the reasons set forth in
                          Plaintiff's Motion in Limine
                          on this topic. (2) FRE 402,
                          403: objection to evidence
                          of advocacy organization
                          guidelines, for reasons
                          stated in Plaintiff's
                          Omnibus Motion in
                          Limine; (3) FRE 602, 802:
                          speculative & hearsay:
                          witness lacks foundation to
                          testify about FDA's
                          intent/state of mind as to
                          the SIR guidelines or as an
                          expert on the legal
                          requirements established by

                                            10
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 11 of 21



                          FDA; to extent witness is
                          reporting that FDA
                          represented or
                          acknowledged in meetings
                          that SIR guidelines or Bard
                          failure rates were
                          acceptable, the testimony is
                          inadmissible hearsay. (4)
                          FRE 402, 403: further, any
                          probative value is
                          outweighed by the danger
                          of undue prejudice and
                          confusion of the issues
                          because (a) SIR has issued
                          multiple guidelines and the
                          testimony does not identify
                          which ones were allegedly
                          ""acknowledged"" or
                          accepted by FDA. and (b)
                          testimony implies that FDA
                          found the failure rates for
                          the Meridian filter ""to be
                          acceptable,"" suggesting
                          (improperly and without
                          foundation) that FDA
                          evaluated Ecplise filter for
                          compliance with a Federal
                          regulatory standard." FDA
                          does not establish safety
                          through the 510K process.

Schulz, Gin   185:18-
01/30/2014    185:22
              at Most

Schulz, Gin   186:08-
01/30/2014    186:12

Schulz, Gin   208:24-
01/30/2014    209:04

Schulz, Gin   209:07-
01/30/2014    209:10

Schulz, Gin   215:14-
01/30/2014    215:23



                                            11
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 12 of 21




Schulz, Gin   216:02-
01/30/2014    216:08

Schulz, Gin   217:21-
01/30/2014    218:04

Schulz, Gin   218:07-      (218:12-17): FRE 602/702:         The MIL was denied.        OVERRULED
01/30/2014    218:19       the witness lacks personal        This testimony is
                           knowledge of whether              directly relevant to the
                           filters "took the recurring       risk benefit analysis
                           PE rate down" and is not          performed by Bard.
                           qualified to offer evidence
                           on this topic. FRE 402/403:
                           as explained in Plaintiffs'
                           Omnibusa Motion in
                           Limine, testimony that
                           filters "prevent PEs" ought
                           to be excluded because no
                           such evidence exists for
                           Bard's retrievable filter line.
                           Further the testimony is
                           non-responsive.

Schulz, Gin   227:23-      FRE 106 - Optional                                           SUSTAIN as to
01/30/2014    228:02       completeness; the                                            completeness
                           remainder of the witness's                                   only; add
                           answer at 228:4-6 ought to
                                                                                        228:4-228:6.
                           be included.

Schulz, Gin   285:02-
01/30/2014    285:09
              at Given
              subject to
              objection

Schulz, Gin   285:13-
01/30/2014    285:23
              subject to
              objection

Schulz, Gin   290:13-      Optional completeness: the                                   SUSTAIN as to
01/30/2014    290:16       complete question,                                           completeness
              subject to   beginning at 290:2, ought                                    only; add
                           to be included, as the
              objection                                                                 290:2-290:9.
                           omission of th question
                           makes it unclear what the




                                               12
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 13 of 21



                           witness is actually begin
                           asked.


Schulz, Gin   290:19-      FRE 402/403: The witness's                OVERRULED
01/30/2014    291:06       testimony that she believed
              subject to   the Bard personnel who
                           made decisions were
              objection
                           qualified is not relevant to
                           any matter at issue,
                           including, but not limied
                           to, the issue of consumer
                           expectations.

Schulz, Gin   351:19-
01/30/2014    352:21

Schulz, Gin   394:24-      Lack of foundation.                       OVERRULED
01/30/2014    395:07       Witness does not know if
                           the "product" was improved
                           with every iteration.

Schulz, Gin   395:10-      Lack of foundation.                       OVERRULED
01/30/2014    395:18       Witness does not know if
                           the "product" was improved
                           with every iteration.

Schulz, Gin   406:17-      Lack of foundation.                       SUSTAIN
01/30/2014    406:19       Witness cannot speak for
                           the entire medical
                           community.

Schulz, Gin   406:22-      Lack of foundation.                       SUSTAIN
01/30/2014    407:02       Witness cannot speak for
                           the entire medical
                           community.

Schulz, Gin   414:23-      vague and confusing                       SUSTAIN
01/30/2014    414:24       question. Lack of
                           foundation. Relevant is not
                           clear in the question or
                           based on the answer.

Schulz, Gin   415:03-      vague and confusing                       SUSTAIN
01/30/2014    415:09       question. Lack of
                           foundation. Relevant is not
                           clear in the question or
                           based on the answer.




                                              13
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 14 of 21




Schulz, Gin   432:20-     Speculation. The witness                                 OVERRULED
01/30/2014    432:22      cannot speak for Dr.
                          Ciavarella and what he did
                          and did not understand.

Schulz, Gin   433:01-     Speculation. The witness                                 OVERRULED
01/30/2014    433:05      cannot speak for Dr.
                          Ciavarella and what he did
                          and did not understand.

Schulz, Gin   437:06-     Counsel if testifying. The    Plaintiff's counsel is     SUSTAIN
01/30/2014    437:21      document speaks for itself.   asking the question.

Schulz, Gin   438:05-     Counsel if testifying. The    Plaintiff's counsel is     SUSTAIN
01/30/2014    438:11      document speaks for itself.   asking the question.

Schulz, Gin   440:07-
01/30/2014    440:11

Schulz, Gin   443:07-
01/30/2014    443:20

Schulz, Gin   444:16-     Non responsive. The           No objection to            OVERRULED
01/30/2014    444:22      witness did not answer the    responsiveness was
                          quesiton. Speculations, the   made at the time of the
                          witness cannot speak for      question.
                          what physicians believed to
                          be the tradeoffs of
                          retrievable filters.

Schulz, Gin   445:01-     Non responsive. The           No objection to            OVERRULED
01/30/2014    445:08      witness did not answer the    responsiveness was
                          quesiton. Speculations, the   made at the time of the
                          witness cannot speak for      question.
                          what physicians believed to
                          be the tradeoffs of
                          retrievable filters.

Schulz, Gin   452:04-     This is an answer without a   Plainitff designated the   SUSTAIN,
01/30/2014    452:13      question.                     question without the       plaintiff did
                                                        answer. The answer is      not designate
                                                        necessary for
                                                                                   the question.
                                                        comleteness.

Schulz, Gin   452:19-
01/30/2014    452:22




                                            14
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 15 of 21




Schulz, Gin   453:01-
01/30/2014    453:03

Schulz, Gin   465:12-
01/30/2014    465:20

Schulz, Gin   466:06-
01/30/2014    466:09



DEPON-        DEF           PL OBJECTIONS        DEF RESPONSE TO     COURT
ENT           AFFIRM                             OBJECTIONS          RULING

Schulz, Gin   24:04-24:10
01/30/2014    begin at
              “Can”

Schulz, Gin   26:11-26:13
01/30/2014

Schulz, Gin   30:12-30:16
01/30/2014    begin at
              “you”
              end at
              through
              “1990”

Schulz, Gin   30:21-31:04
01/30/2014    begin at
              “And”

Schulz, Gin   31:08-31:15
01/30/2014    begin at
              “when”

Schulz, Gin   49:08-50:24
01/30/2014

Schulz, Gin   52:22-53:24
01/30/2014    begin at
              “And”

Schulz, Gin   54:01-55:10
01/30/2014    begin at
              “Now”



                                        15
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 16 of 21




Schulz, Gin   123:21-
01/30/2014    124:03
              begin at “if”

Schulz, Gin   124:06-         (124:06-20): Non-               The witness is testifying    SUSTAIN as to
01/30/2014    124:20          responsive. (124:18-20):        from her extensive           124:18-124:20,
                              FRE: 602 & 702: Lack of         personal experience.         otherwise
                              foundation; speculative:        She was asked
                                                                                           OVERRULED
                              witness is not qualified or     extensively about these
                              properly designated to          issues by Plaintiff's
                              testify as an expert about      counsel who apparently
                              what "FDA looks at…on           believed she had the
                              the approval of the             pertinent background
                              devices." Also, FRE: 403:       and experience to
                              any probative value of          testify as to these issues
                              reference to what FDA           -- otherwise, Plaintiff's
                              considers in "approval of       counsel would not have
                              the devices" is outweighed      asked. Any confusion
                              by the danger of undue          regarding "approval" or
                              prejudice and confusion of      "clearance" can be easily
                              the issues because the          cured by inclusion of
                              device at issue was never       124:22-23.
                              "approved" and the FDA
                              made no risk/benefit
                              analysis of the device at
                              issue although testimony
                              implies that occurred.

Schulz, Gin   125:11-         FRE 602, 702: Lack of           The witness is testifying    OVERRULED
01/30/2014    125:22          foundation: witness has no      from her extensive
              begin at        personal knowledge and is       personal experience.
                              neither qualified nor           She was asked
              “And”
                              properly designated as an       extensively about these
                              expert to testify about how     issues by Plaintiff's
                              an implanting physician         counsel who apparently
                              makes risk/benefit decisions    believed she had the
                              in using the device at issue.   pertinent background
                              Further, FRE 106: the rule      and experience to
                              of optional completeness        testify as to these issues
                              requires the answer (at line    -- otherwise, Plaintiff's
                              125:16) if this excerpt is      counsel would not have
                              permitted because the           asked. Defendants do
                              question is designated          not object to the
                              without the witness's           inclusion of 125:16.
                              answer and gives the
                              improper impression that
                              the answer given at lines


                                                 16
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 17 of 21



                          126:1 and following is an
                          answer to the designated
                          question, rather than line
                          16.




Schulz, Gin   126:01-     (126:01-06): FRE 106:          Defendants do not            MOOT
01/30/2014    127:06      under the rule of optional     object to the icnlusion
                          completeness the jury          of 125:17-22. Plaintiffs
                          should hear the question at    do not articulate what
                          lines 125:17-22 ( rather       their "additional
                          than the question at lines     objections" are.
                          125:11-15) since that is the
                          actual question this witness
                          is answering in the
                          designated testimony.
                          (Highlighted transcript
                          includes lines 126:7-127:6,
                          to which Plaintiffs have
                          additional objections.
                          Plaintiffs assume that this
                          chart presents the correct
                          intended designations).

Schulz, Gin   147:20-     (147:20-149:21): Non-          The witness is testifying    SUSTAIN
01/30/2014    149:21      responsive.                    from her extensive
                          (147:20-150:13): (1) FRE       personal experience.
                          402, 403 - objection to        She was asked
                          evidence of FDA lack of        extensively about these
                          enforcement for the reasons    issues by Plaintiff's
                          set forth in Plaintiff's       counsel who apparently
                          Motion in Limine on this       believed she had the
                          topic. (2) FRE 402, 403:       pertinent background
                          objection to evidence of       and experience to
                          advocacy organization          testify as to these issues
                          guidelines, for reasons        -- otherwise, Plaintiff's
                          stated in Plaintiff's          counsel would not have
                          Omnibus Motion in              asked. Plaintiff's
                          Limine; (3) FRE 602, 802:      objection to this
                          speculative & hearsay:         testimony on the basis
                          witness lacks foundation to    that Ms. Schulz began
                          testify about FDA's            with Bard in 2005 and
                          intent/state of mind as to     the timeframe at issue
                          the SIR guidelines or as an    is 2013 (Plaintiff
                          expert on the legal            errantly identifies the


                                            17
Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 18 of 21



                   requirements established by    filter at issue in this
                   FDA; to extent witness is      case as the G2X and
                   reporting that FDA             the germane time frame
                   represented or                 as 2010) runs counter
                   acknowledged in meetings       to Plaintiff's own
                   that SIR guidelines or Bard    actions, as she has
                   failure rates were             designated a significant
                   acceptable, the testimony is   amount of testimony
                   inadmissible hearsay. (4)      from this and other
                   FRE 402, 403: testimony is     witnesses regarding
                   irrelevant because the         events and
                   witness went to work at        circumstances from the
                   Bard in 2005 and did not       2003-2005, etc.
                   explain when such meetings     timeframe. Plaintiff
                   occurred, thus the             cannot have it both
                   testimony is not shown to      ways. Either the
                   pertain to the G2X filter or   pertinent time period is
                   to the time frame at issue     2013, or both parties
                   (2010), further, any           can present evidence
                   probative value is             from this earlier time
                   outweighed by the danger       period. Defendants
                   of undue prejudice and         incorporate their
                   confusion of the issues        responses to Plaintiff's
                   because (a) SIR has issued     motions in limine.
                   multiple guidelines and the
                   testimony does not identify
                   which ones were allegedly
                   "acknowledged" or accepted
                   by FDA. and (b) testimony
                   implies that FDA found the
                   failure rates for the G2X
                   filter "to be acceptable,"
                   suggesting (improperly and
                   without foundation) that
                   FDA evaluated G2X filter
                   for compliance with a
                   Federal regulatory
                   standard.




                                     18
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 19 of 21




Schulz, Gin   150:02-     Non-responsive.        The witness is testifying    SUSTAIN
01/30/2014    150:13                             from her extensive
                                                 personal experience.
                                                 She was asked
                                                 extensively about these
                                                 issues by Plaintiff's
                                                 counsel who apparently
                                                 believed she had the
                                                 pertinent background
                                                 and experience to
                                                 testify as to these issues
                                                 -- otherwise, Plaintiff's
                                                 counsel would not have
                                                 asked. Plaintiff's
                                                 objection to this
                                                 testimony on the basis
                                                 that Ms. Schulz began
                                                 with Bard in 2005 and
                                                 the timeframe at issue
                                                 is 2013 (Plaintiff
                                                 errantly identifies the
                                                 filter at issue in this
                                                 case as the G2X and
                                                 the germane time frame
                                                 as 2010) runs counter
                                                 to Plaintiff's own
                                                 actions, as she has
                                                 designated a significant
                                                 amount of testimony
                                                 from this and other
                                                 witnesses regarding
                                                 events and
                                                 circumstances from the
                                                 2003-2005, etc.
                                                 timeframe. Plaintiff
                                                 cannot have it both
                                                 ways. Either the
                                                 pertinent time period is
                                                 2013, or both parties
                                                 can present evidence
                                                 from this earlier time
                                                 period. Defendants
                                                 incorporate their
                                                 responses to Plaintiff's
                                                 motions in limine.




                                            19
       Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 20 of 21




DEPON-        PL          DEF OBJECTIONS                   PL RESPONSE TO              COURT
ENT           COUNTERS                                     OBJECTIONS                  RULING

Schulz, Gin   150:22-
01/30/2014    151:01

Schulz, Gin   109:22-     Rules 401, 402, 403.             Ms. Shultz was the VP       OVERRULED,
01/30/2014    110:01      Testimony does not involve       of Quality assurance        but also already
                          filter at issue and/or failure   and is now the VP of        designated
                          modes at issue; Irrelevant       Quality Operations for
                          and any probative value          Bard. The testimony is
                          outweighed by prejudicial        clearly with in
                          effect. This is not within       experience, her
                          the scope of Defendant's         knowledge and the
                          designations; this is not a      scope of responsibilities
                          "counter-designation."           for Bard. Bard has used
                                                           this witness to discuss
                                                           complication rates and
                                                           what should or should
                                                           not be told to
                                                           physicians about
                                                           complications. See
                                                           148:01-150:13. This
                                                           testimony is clearly
                                                           within the scope of
                                                           Bard’s direct. Also the
                                                           testimony concerns
                                                           migration and Mrs.
                                                           Johnson experience
                                                           migration of her filter.
                                                           The testimony is
                                                           relevant and is not
                                                           unfairly prejudicial

Schulz, Gin   110:04-     Rules 401, 402, 403.             Ms. Shultz was the VP       OVERRULED,
01/30/2014    110:14      Testimony does not involve       of Quality assurance        but also already
                          filter at issue and/or failure   and is now the VP of        designated
                          modes at issue; Irrelevant       Quality Operations for
                          and any probative value          Bard. The testimony is
                          outweighed by prejudicial        clearly with in
                          effect. This is not within       experience, her
                          the scope of Defendant's         knowledge and the
                          designations; this is not a      scope of responsibilities
                          "counter-designation."           for Bard. Bard has used
                                                           this witness to discuss


                                             20
        Case: 3:19-cv-00760-wmc Document #: 276 Filed: 06/05/21 Page 21 of 21



                                                        complication rates and
                                                        what should or should
                                                        not be told to
                                                        physicians about
                                                        complications. See
                                                        148:01-150:13. This
                                                        testimony is clearly
                                                        within the scope of
                                                        Bard’s direct. Also the
                                                        testimony concerns
                                                        perforation and fracture
                                                        and Mrs. Johnson
                                                        experience perforation
                                                        and fracture of her
                                                        filter. The testimony is
                                                        relevant and is not
                                                        unfairly prejudicial.



      Accordingly, IT IS ORDERED that the parties’ request for rulings on objections to certain

designations is GRANTED, and the objections are sustained in part and overruled in part as

provided above.

      Entered this 5th day of June, 2021.

                                            BY THE COURT:

                                             /s/
                                             __________________________________
                                             WILLIAM M. CONLEY
                                             District Judge




                                             21
